Case 3:22-cv-00049-NKM-JCH Document 174-1 Filed 02/28/23 Page 1 of 3 Pageid#: 1937




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA

      BABY DOE, et al.,                                   )
                                                          )
                     Plaintiffs,                          )
                                                          )
      v.                                                  )     Case No. 3:22-cv-00049-NKM
                                                          )
      JOSHUA MAST, et al.,                                )
                                                          )
                      Defendants,                         )
                                                          )
                  And                                     )
                                                          )
      UNITED STATES SECRETARY OF                          )
      STATE ANTONY BLINKEN, et al.,                       )
                                                          )
                      Nominal Defendants.                 )
                                                          )

                 (PROPOSED) ORDER DIRECTING CLERK TO REQUEST
                 INFORMATION HELD BY A VIRGINIA CIRCUIT COURT

             Having reviewed the motion and memorandum in support of an order directing the

      clerk of this Court to request maintained under seal by the Fluvanna County Virginia

      Circuit Court in the case A.A. and F.A. v. Joshua Mast and Stephanie Mast, Case No.:

      CL22000186-00, and for good cause shown, the Court GRANTS the Motion. It is hereby

      ORDERED and this Court DIRECTS the clerk of this Court, within seven days, to request

      via written correspondence to the clerk of the Fluvanna County Circuit Court a copy of the

      documents set forth below:

             [remainder of page left blank]




                                                  1
Case 3:22-cv-00049-NKM-JCH Document 174-1 Filed 02/28/23 Page 2 of 3 Pageid#: 1938




       Exhibits Referenced Corresponding Documents to be Requested from State
       in Opp’n Mem. Filed Circuit Court Clerk
       in this Court
       (Dkt. No. 171)
       Exhibit No.         Circuit Court Case Dkt Description of Ex. Docs.
                           No.
       Exhibit 4           Circuit Court Dkt. 23   Respondent Masts’ Answer &
                                                   Attachments (filed May 19,
                                                   2022)
       Exhibit 5           Circuit Court Dkt. 21   Masts’ Motion for Protective
                                                   Order & Attachments (filed May
                                                   17, 2022) including pages styled
                                                   “(DOD) TSC.pdf” that was
                                                   produced       by      the     Mast
                                                   Respondents to “John Doe” and
                                                   “Jane Doe” Petitioners on May 3,
                                                   2022
       Exhibit 7           (No docket number – 30 Aug 2021 TECS TIDE
                           believed to be within terrorism record of “John Doe.”
                           attachments of Dkt. 21)
       Exhibit 11          Circuit Court Dkt. 24   Plaintiffs’[Petitioners’] Motion
                                                   for only relevant things
       Exhibit 12          Circuit Court Dkt. 25   Plaintiffs’ [Petitioners’] Motion
                                                   in Limine to Exclude Official and
                                                   [purportedly]             Classified
                                                   Information Absent Express
                                                   Written Authorization (filed May
                                                   19, 2022);
       Exhibit 13          Circuit Court Dkt. 27   Plaintiffs’           [Petitioners’]
                                                   Response to Masts’ Motion for
                                                   Protective Order (filed May 20,
                                                   2022).
       Exhibit 14          Circuit Court Dkt. 28   Plaintiffs’ [Petitioners’] Motion
                                                   to exclude testimony

       Exhibit 15              Circuit Court Dkt. 29         Plaintiffs’ [Petitioners’] Motion
                                                             for Pseudonyms



             If the request is granted by the Fluvanna County Circuit Court, the Clerk of this

      Court shall receive the records under seal in the matter 3:22-cv-00049 NKM JCH for




                                                 2
Case 3:22-cv-00049-NKM-JCH Document 174-1 Filed 02/28/23 Page 3 of 3 Pageid#: 1939




      review in camera to determine appropriate treatment of the information, including

      acceptance as filings under seal for consideration in this case.

             SO ORDERED.

             Dated: ___________                             ___________________
                                                            Judge Norman K. Moon




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